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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION



 RUBEN CUEVAS

 v.                                                      Case No.: 8:09-cv-2009-T-24-TGW
                                                                   8:98-cr-154-T-24-TGW

 UNITED STATES OF AMERICA

 ___________________________________/

                                               ORDER
         This cause comes before the Court on Petitioner’s Motion to Set Aside or Correct
 Sentence. (CV Doc. No.1; CR Doc. No. 658). Because a review of the motion and the file in
 the case conclusively show that Petitioner is not entitled to relief, the Court will not cause notice
 thereof to be served upon the United States Attorney but shall proceed to address the matter. 28
 U.S.C. § 2255(b).
 I. Background
         On September 4, 2002, a second superseding indictment was returned charging Petitioner
 and several others with various narcotics violations. (CR Doc. No. 198). Thereafter, on
 December 11, 2003, pursuant to a written plea agreement, Petitioner pled guilty to conspiracy to
 import five kilograms or more of cocaine into the United States and conspiracy to possess with
 intent to distribute five kilograms or more of cocaine. (CR Doc. No. 380, 389). On April 21,
 2004, this Court sentenced Petitioner to a total term of 252 months imprisonment. (CR Doc. No.
 402, 468).
         On April 29, 2004, Petitioner filed a Notice of Appeal. (CR Doc. No. 478). However,
 the appeal was dismissed by the Eleventh Circuit on June 14, 2005, because Petitioner’s plea
 agreement contained a provision in which Petitioner waived his right to appeal. (CR Doc. No.
 590).
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           Thereafter, on June 16, 2006, Petitioner filed a motion to vacate his conviction and
 sentence, pursuant to 28 U.S.C. § 2255. (CR Doc. No. 608). On July 21, 2006, he filed an
 amended § 2255 motion, and on August 11, 2006, he filed a second amended § 2255 motion.
 (CR Doc. No. 609, 622). This Court denied his second amended § 2255 motion on November
 27, 2006. (CR Doc. No. 623). Almost three years later, on September 30, 2009, Petitioner filed
 the instant § 2255 motion to set aside his sentence.
 II. Motion to Set Aside Sentence
           The Court need not address the merits of Petitioner’s pending § 2255 motion, because the
 motion is unsigned, untimely, and successive. For those reasons, the motion is denied.
           Petitioner did not sign his § 2255 motion. The Court need not consider whether it should
 allow him to cure this deficiency, because the motion is also untimely and successive.
           A. Timeliness
           The Antiterrorism and Effective Death Penalty Act of 1996 “established a mandatory,
 one-year ‘period of limitation’ for § 2255 motions, which runs from the latest of the following
 events:
           (1)    the date on which the judgment of conviction becomes final;
           (2)    the date on which the impediment to making a motion created by
                  governmental action in violation of the Constitution or laws of the United
                  States is removed, if the movant was prevented from making a motion by
                  such governmental action;
           (3)    the date on which the right asserted was initially recognized by the
                  Supreme Court, if that right has been newly recognized by the Supreme
                  Court and made retroactively applicable on collateral review; or
           (4)    the date on which the facts supporting the claim or claims presented could
                  have been discovered through the exercise of due diligence.”

 Jones v. United States, 304 F.3d 1035, 1037-38 (11th Cir. 2002) (citing 28 U.S.C. § 2255(f)(1)-

 (4)). Petitioner appealed his conviction, and his appeal was dismissed on June 14, 2005. More

 than four years have elapsed since his appeal was dismissed before he filed the instant § 2255

 motion, and as such, this motion is untimely and time-barred.


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         B. Successive Filing

         Additionally, this motion must be denied as it is a successive filing. Pursuant to 28

 U.S.C. § 2255(h), a second or successive § 2255 motion must be certified by a panel of the

 Eleventh Circuit prior to being filed in this Court. No such certification was obtained in this

 case.

 III. Conclusion

         Accordingly, it is ORDERED AND ADJUDGED that Petitioner’s § 2255 motion is

 DENIED. The Clerk is directed to enter judgment against Petitioner in the civil case and then

 close that case.



                          CERTIFICATE OF APPEALABILITY AND

                    LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

         IT IS FURTHERED ORDERED that Petitioner is not entitled to a certificate of

 appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal a

 district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must first

 issue a certificate of appealability (“COA”). Id. “A [COA] may issue . . . only if the applicant

 has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2). To

 make such a showing, Petitioner “must demonstrate that reasonable jurists would find the district

 court’s assessment of the constitutional claims debatable or wrong,” Tennard v. Dretke, 542

 U.S. 274, 282 (2004) (quoting Slack v. McDaniel 529 U.S. 473, 484 (2000)), or that “the issues

 presented were ‘adequate to deserve encouragement to proceed further,’” Miller-El v. Cockrell,

 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).


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 Petitioner has not made the requisite showing in these circumstances. Finally, because Petitioner

 is not entitled to a certificate of appealability, he is not entitled to appeal in forma pauperis.

         DONE AND ORDERED at Tampa, Florida, this 10th day of November, 2009.




 Copies to:
 Counsel of Record
 Pro Se Petitioner




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